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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GARTOR KIKI BROWN                      :
                                       :     3:18-CV-001527
             Plaintiffs,               :
                                       :
      v.                               :
                                       :      (Magistrate Judge Carlson)
                                       :
LT. MAXWELL, ET AL.,                   :
                                       :
             Defendant                 :

             WRIT OF HABEAS CORPUS AD TESTIFICANDUM

      The Department of Homeland Security – Immigration and Customs
Enforcement – Moshannon Valley Processing Center in Phillipsburg, PA , is
directed to produce the person of GARTOR KIKI BROWN, A094-007-050, to
the United States Marshals Service, who will transport and produce the plaintiff to
Courtroom #5, 11th Floor at the United States District Court, 228 Walnut Street,
Harrisburg Pennsylvania, on September 6, 2022 at 9:30 a.m. for the purpose of
attending a bench trial, and keep the prisoner/plaintiff safe in custody and confine
him from day to day when not appearing for the trial.
       At the conclusion of the proceedings, the United States Marshals Service
shall transport and return plaintiff to the custody of Immigration and Customs
Enforcement at the Moshannon Valley Processing Center where he is currently
detained.
      So, ordered this 28th day of July 2022.

                                              s/ Martin C. Carlson
                                              Martin C. Carlson
                                              United States Magistrate Judge
